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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                              CIVIL ACTION NO. 18-10172-RWZ

                  CAPITAL FINANCE, LLC and CAPITAL FUNDING, LLC

                                        v.
                              22 MAPLE STREET, LLC
                               25 ORIOL DRIVE, LLC
                             59 COOLIDGE ROAD, LLC
                             20 KINMONTH ROAD, LLC
                           WABAN HEALTH CENTER, LLC
                      MERRIMACK VALLEY HEALTH CENTER, LLC
                       WATERTOWN HEALTH CENTER, LLC and
                         WORCESTER HEALTH CENTER, LLC



                               ORDER APPOINTING RECEIVER

                                         March 21, 2018

ZOBEL, S.D.J.

       This matter came before the court on the Motion (the “Motion”) of Capital Finance, LLC

(the “AR Loan Agent”) and Capital Funding, LLC (the “Mortgage Loan Agent” and together with

the AR Loan Agent, the “Agents”) for Appointment of Receiver of 22 Maple Street, LLC; 25 Oriol

Drive, LLC; 59 Coolidge Road, LLC; 20 Kinmonth Road, LLC (collectively, the “Owner

Defendants” and, individually, an “Owner Defendant”); Waban Health Center, LLC; Merrimack

Valley Health Center, LLC; Watertown Health Center, LLC and Worcester Health Center, LLC

(collectively, the “Operator Defendants” and, individually, an “Operator Defendant”).1 On March




1
  On February 14, 2018, the Owner Defendants filed for protection under chapter 11 of the Bankruptcy
Code, 11 U.S.C. § 101, et seq. Accordingly, this Order does not appoint a receiver over the Owner
Defendants.

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9, 2018, the court entered a Memorandum of Decision (Docket # 35) (the “Receiver Decision”)

finding the appointment of a receiver of the Operator Defendants necessary.

        Accordingly, it is ORDERED that:

        1.     KCP Advisory Group LLC, 2400 District Avenue, Suite 215, Burlington, MA

01803, by and through Jacen Dinoff, its Principal and Co-Founder, is hereby appointed receiver

(“Receiver”) of each of the Operator Defendants and all of Operator Defendants’ assets (the

“Receivership Assets”), with all of the powers and obligations set forth herein. The Receivership

Assets do not include property of the Owner Defendants’ bankruptcy estates in their respective

bankruptcy cases pending in the United States Bankruptcy Court for the Eastern District of New

York.

        2.     The Receiver shall take immediate possession and full control of all of the

Receivership Assets and shall take such other actions as the Receiver deems reasonable and

appropriate to effect this Order, to prevent waste, and to preserve, manage, secure, and safeguard

the Receivership Assets in accordance with the powers granted herein.

        3.     Subject to the Budget (defined below), the Receiver shall have and may exercise

the following powers, and such additional powers that are provided by law and that the court may

from time to time direct or confer:

               a.     take and maintain possession of all documents, books, records, papers, and

deposit accounts relating to the Receivership Assets;




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                b.      exclude the Operator Defendants, the Guarantors2 and their respective

agents, servants, and employees wholly from the Receivership Assets, except as necessary for the

Operator Defendants to carry out their duties with respect to the Nursing Facilities’ licenses;

                c.      execute and deliver, in the name of the Operator Defendants or in the

Receiver’s own name, such documents and instruments as are necessary or appropriate to

consummate transactions authorized hereunder;

                d.      manage, operate, preserve and maintain the Receivership Assets as a

prudent person would, including, without limitation, the power to enter into, terminate or negotiate

contracts and make repairs or alterations to the Receivership Assets that the Receiver in its business

judgment reasonably believes necessary for the management, operation, preservation and

maintenance of the Receivership Assets;

                e.      enter into leases, whether of real or personal property, or tenancy

agreements, under such terms and conditions as the Receiver may deem appropriate or desirable

to preserve the Receivership Assets;

                f.      employ     such   contractors,    subcontractors,    materialmen,     architects,

engineers, consultants, managers, brokers, marketing agents, or other employees, agents,

independent contractors, or professionals as the Receiver may in its discretion deem appropriate

or desirable to implement and effectuate the rights and powers herein granted;

                g.      engage attorneys or other professionals, as appropriate, in order to advise

and assist the Receiver in carrying out its duties and appearing in court or other proceedings on

its behalf;



2
 All capitalized terms used herein and not otherwise defined shall have the meaning given to them in the
Verified Complaint (Docket # 23).

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               h.      collect the rents, accounts receivable, insurance claim proceeds, real estate

tax refunds, utility deposits, security deposits, proceeds, earnest money deposits and profits from

the Receivership Assets, if any, from any time period whether historical, current or prospective,

and receive any such assets presently in the possession of the Operator Defendants and/or their

agents;

               i.      repossess personal property, as provided by law, for breaches of the

conditions of their leases or other agreements;

               j.      sue for unpaid receivables, income, or proceeds in the name of the Operator

Defendants;

               k.      subject to the Agents’ prior written consent, compromise or give

acquittance for receivables, income, or proceeds that may become due;

               l.      deal with issues and other matters with vendors, municipalities, and other

governmental entities, as necessary;

               m.      open any mail intended for and/or directed to the Operator Defendants;

               n.      hire, fire, select, and retain employees of the Operator Defendants as the

Receiver deems reasonable or necessary to preserve and maintain the value of the Receivership

Assets, including as necessary or desirable to provide appropriate quality patient care;

               o.      upon prior written consent of the Agents, retain Next Step Healthcare, LLC

as manager of the Nursing Facilities or hire a qualified replacement healthcare facility management

company;

               p.      upon prior written consent of the Agents, hire a qualified company or

individual to handle the Operator Defendants’ back-office services;




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               q.     with respect to taxes: (i) use all tax identification numbers of the Operator

Defendants and cause to be filed all federal, state, and local income tax returns of the Operator

Defendants for the period through termination of this receivership, including, without limitation,

for the calendar years 2016, 2017 and thereafter; (ii) communicate with, negotiate with, and serve

as nonexclusive representative of the Operator Defendants to all taxing authorities; provided,

however, that the Receiver shall use reasonable efforts to keep all managers of the Operator

Defendants apprised of all communications with taxing authorities by notice delivered to the

address for such managers provided by each Operator Defendant; (iii) use reasonable efforts to

issue all tax related forms on behalf of the Operator Defendants, including, without limitation,

Internal Revenue Service Forms W-2, 1099, and K-1; and (iv) to the extent funds are available and

authorized pursuant to the procedures set forth in this Order, pay taxes which may have been or

may be levied against the Receivership Assets or which are otherwise due and payable with respect

to the Receivership Assets, including, without limitation, payment of the provider taxes

outstanding to the Commonwealth of Massachusetts, provided, however, that the Receiver is

authorized to and may pay taxes which are or become due and payable which relate to the

Receiver’s custody, control or operation of the Receivership Assets for the period from the date of

the entry of this Order through the date the Receivership is terminated and for which personal

liability could be imposed;

               r.     take all actions necessary to maintain and/or transfer existing licenses,

permits and authority from all relevant governmental agencies, managed care contracts, and third-

party payor agreements, and to take all actions necessary to enroll or re-enroll the Nursing

Facilities in any and all available state and federal subsidy and reimbursement programs, including

but not limited to Medicare and Medicaid;



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                s.      subject to the prior written consent of the Agents, conduct a marketing or

leasing program with respect to all or a portion of the Receivership Assets, or employ a marketing

or leasing agent or agents to do so, direct to the leasing or sale of all or portions of the Receivership

Assets under such terms and conditions as the Agents may in their sole discretion deem appropriate

or desirable, provided, however, that the Receiver shall seek court approval for any sale of

Receivership Assets outside the ordinary course of business;

                t.      communicate and share information with prospective purchasers and

provide the Agents with copies of such information;

                u.      in accordance with Paragraph 18 below, borrow monies from the Agents

and the Lenders secured by a senior and paramount lien upon the Receivership Assets for the

purposes of performing the Receiver’s obligations under this or other orders of this court, and

preserving or enhancing the value of the Receivership Assets, on terms and conditions agreed upon

by the Agents and the Lenders;

                v.      take possession or control of all existing bank accounts, cash and funds

belonging to or for the benefit of the Operator Defendants in bank accounts associated with the

Receivership Assets (regardless from what time period), whether in the name of the Operator

Defendants, or their agents or employees, and to open, transfer, and change all such bank accounts

into the name of the Receiver, if appropriate, or otherwise take such actions as necessary to ensure

such bank accounts are under the control of the Receiver and ensure Operator Defendants do not

have access to such accounts without consultation with the Receiver, all in compliance with legal

requirements; and




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               w.      take all such further actions and enter into all such other agreements as the

Receiver in its professional discretion deems appropriate or desirable to preserve, protect and

maximize the value of the Receivership Assets.

       4.      The Operator Defendants shall have neither possession nor control of, nor any right

to, the Receivership Assets or money or other proceeds derived from the Receivership Assets

unless and until the receivership is terminated and the Receiver is discharged. The Operator

Defendants shall in all respects comply with this Order, and are hereby enjoined and restrained

from impeding or interfering in any manner with the exercise by the Receiver of its rights, powers,

and duties hereunder. From and after the date of this Order, neither the Operator Defendants, the

Guarantors, nor any agents of the Operator Defendants or Guarantors shall enter into any lease,

contract, or agreement of any kind or character relating to the Receivership Assets, and shall not

grant any lien upon or security interest in the Receivership Assets.

       5.      Without the consent of the Receiver, none of the Operator Defendants, the

Guarantors, or any agents of the Operator Defendants or Guarantors shall enter or be present at

any of the Nursing Facilities, communicate in any manner with the employees or residents at the

Nursing Facilities, or modify, terminate or cause to be modified or terminated any license, permit,

lease, easement, contract or agreement, if any, relating to the Receivership Assets.

       6.      The Operator Defendants are hereby enjoined and restrained from collecting any

revenues, receivables, proceeds, or other sums payable with respect to the Receivership Assets.

Should the Operator Defendants, or any of their respective partners, affiliates, employees,

members, shareholders, representatives, and agents come into possession of any such revenues,

receivables, proceeds, or other sums subsequent to the date of entry of this Order, the Operator




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Defendants, or their respective partners, affiliates, employees, members, shareholders,

representatives, and agents shall promptly remit the same to the Receiver in the form received.

       7.      Neither the Operator Defendants nor anyone associated therewith or acting under

the Operator Defendants’ authority or control shall: (a) remove or destroy any property from the

Nursing Facilities whether constituting Receivership Assets or otherwise; (b) terminate or cause

to be terminated any license, permit, lease, contract, or agreement relating to the operation of the

Nursing Facilities, including, without limitation, third-party payor agreements; (c) make any

disparaging statement to residents, employees, or third parties regarding the Receiver or cause

such persons or entities to resign, transfer to a new skilled nursing facility or refuse to deal with

the Receiver; or (d) otherwise interfere with the Receiver in carrying out its duties under this Order

and applicable law.

       8.      Until further order of this court, all tenants, bailees, or other persons in possession

of the Receivership Assets or any portion thereof shall turn over such Assets to the Receiver, and

until further order of this court (a) shall pay over to the Receiver, or its duly designated agent, all

rents, revenues, receivables, proceeds, or other sums payable with respect to the Receivership

Assets which are now due and unpaid or hereafter become due; and (b) they are hereby enjoined

and restrained from paying to the Operator Defendants or their agents, officers, directors,

employees, or attorneys any such rents, receivables, revenues, proceeds, or other sums.

       9.      Within five (5) calendar days from the entry of this Order, and thereafter, forthwith

upon request of the Receiver (but no later than five (5) calendar days following such request), the

Operator Defendants, Synergy Health Centers, LLC, and/or their respective agents and employees

shall provide to the Receiver, make available to the Receiver, or cause their manager or employees

to deliver or make available to the Receiver the following, to the extent such items and things exist:



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               a.      all Receivership Assets and funds generated by or from the Receivership

Assets, whether such funds are held in a collateral related account or not, including but not limited

to: (i) all cash on hand; (ii) all cash equivalents and negotiable instruments (such as checks, notes,

drafts or other related documents or instruments); and (iii) all sums held in accounts in any

financial institutions, including but not limited to (A) tenant/lessee security deposits received by

the Operator Defendants from residents of the Nursing Facilities, (B) deposits held in escrow by

the Operator Defendants for any purpose, such as for payment of real estate taxes and insurance

premiums, (C) proceeds of insurance maintained for, or pertaining to, the Receivership Assets, (D)

rent or prepaid rent from the residents of the Nursing Facilities, (E) funds designated or intended

for capital improvements, repairs, or renovations to, or in connection with, the Receivership

Assets, and (F) all other sums of any kind relating to the use, enjoyment, possession, improvement,

or occupancy of all or any portion of the Receivership Assets;

               b.      copies of any and all service contracts pertaining to the Receivership Assets

and/or to which the Operator Defendants are a party;

               c.      copies of any and all management contracts and/or agreements pertaining

to the Receivership Assets and/or to which the Operator Defendants are a party;

               d.      copies of any and all leases, lease abstracts, purchase agreements and the

like pertaining to the Receivership Assets and/or to which the Operator Defendants are a party;

               e.      all open invoices for services or goods relating to the Receivership Assets

and/or to which the Operator Defendants are a party;

               f.      all records evidencing the Operator Defendants’ accounts receivable, and

any and all agreements, documented and undocumented, with any creditor, respecting any payment

plan or agreement, demand, or suit;



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               g.      copies of the 2015, 2016, and 2017 year-end and 2018 year-to-date, in both

full and summary format, financial statements (and month by month detail) for each Operator

Defendant and on a consolidated basis, in both hard copy and electronic formats; balance sheets,

income statements, accounts receivables (and receivables/arrearages aging), operating statements,

current year budgets, sources and uses of cash flows, detailed rent rolls, accounts payable, check

registers, security deposit listings, trial balances, general ledgers, contractor statements, lien

waivers, sworn owner statements, construction draws, bank reconciliations, and bank statements,

including any passwords which may be associated with any financial documents or accounts and

copies of borrowing base certificates or similar submissions for the prior six (6) loan requests;

               h.      a complete set of keys (including all masters) and all security and/or access

codes and/or cards to the Nursing Facilities and a schedule (including full contact information)

identifying each person or entity (including security companies, municipal/governmental agencies

and utility companies), who currently has one or more keys and/or access cards to the Nursing

Facilities or who has knowledge of any access codes thereto;

               i.      any and all records and information the Operator Defendants or Synergy

Health Centers, LLC or their agents, affiliates or employees may have concerning the Receivership

Assets for each Operator Defendant and on a consolidated basis as applicable, including without

limitation all written and electronic books, records, correspondence, and other information

(including any computer hardware or software login and password information) related to: (i) any

agreements to which the Operator Defendants and/or the Receivership Assets are or may be

subject; (ii) any amounts received from the residents or other tenants of the Nursing Facilities,

including resident funds, including revenue by payor type for each of the prior two fiscal quarters;

(iii) all liens or other encumbrances on the Receivership Assets or against the Operator Defendants;



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(iv) taxes, assessments and related appeals; (v) insurance of all types for the Operator Defendants

(including, but not limited to, liability, property, excess liability, auto liability, boiler and

machinery, business interruption, professional liability, employee dishonesty, builders risk,

construction related insurance and worker’s compensation) including information regarding

insurance which may be issued to any defendant; (vi) all invoices for services at the Nursing

Facilities; (viii) all resident and other tenant files, including leases, lease abstracts, purchase

agreements, and sample leases; (ix) all marketing information (in hard copy and electronic format)

including but not limited to brochures, photographs (including aerial), maps, and signage;

(x) copies of all state and federal tax returns signed and filed by the Operator Defendants for

calendar years 2015, 2016 and 2017; (xi) all state survey results and correspondence with any

regulators; and (xii) all other records related to the Receivership Assets that are or may be

necessary or pertinent to the Receiver’s management, maintenance, operation and/or sale of the

Receivership Assets;

               j.      any and all insurance loss histories and/or claims related to the Receivership

Assets and/or the Operator Defendants;

               k.      all property and all other things of value associated with use, operation and

maintenance of the Receivership Assets; and

               l.      all correspondence with regulators and/or licensing entities regarding the

Receivership Assets.

       10.     By this Order, the Receiver shall be deemed a business associate of the Operator

Defendants pursuant to the Health Information Portability and Accountability Act and its

implementing regulations.




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       11.     The Operator Defendants shall cause, and Receiver shall be authorized on the

Operator Defendant’s behalf to cause, the Receiver and its agents to be named as an additional

insured on any insurance policies covering the Receivership Assets. Subject to the prior written

consent of the Agents and in accordance with the Budget (as defined in paragraph 15 below),

the Receiver may obtain insurance covering the Receivership Assets, and such insurance expense

shall be deemed a normal, ordinary, and necessary operating expense of the Receivership Assets.

       12.     The Operator Defendants shall at all times after the entry of this Order provide full

cooperation to, and shall not in any way interfere with, the Receiver in carrying out its duties

hereunder, and shall timely respond to all reasonable requests made by the Receiver. The Operator

Defendants’ obligations pursuant to this Order shall be continuing.           Neither the Operator

Defendants nor anyone associated therewith or acting under their authority or control shall in any

way directly or indirectly impair the value of the Receivership Assets or interfere with the Receiver

in the exercise of its duties pursuant to this Order.

       13.     The Operator Defendants’ deposit accounts (collectively, the “Deposit Accounts”)

and current cash management system shall remain in place, and the Receiver shall deposit all

proceeds of receivables, all other cash collections and all other proceeds of the Receivership Assets

into the Operator Defendants’ operating, payroll or other accounts maintained at CFG Community

Bank, and the Receiver is authorized to open and maintain appropriate business accounts for the

Receivership Assets at CFG Community Bank. The Receiver is authorized to utilize the Operator

Defendants’ cash management system in accordance with and subject to the terms of this Order.

All deposit account agreements, blocked account agreements and similar bank account agreements

that were in place prior to the entry of this Order shall remain in effect and are hereby ratified and




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reaffirmed. The Receiver is authorized, and the Operator Defendants are directed, to take

necessary or desirable actions to effectuate this arrangement.

       14.     Subject to the Budget (as defined in paragraph 15 below) and the other provisions

of this Order, the Receiver shall pay, from the Receivership Assets, all such reasonable costs and

expenses as shall be incurred by the Receiver in the ordinary course of business in connection with

the operation, maintenance, management, protection, and preservation of the Receivership Assets,

including, without limitation, reasonable expenses required to put the Receivership Assets in a

rentable and/or saleable market-ready condition or otherwise necessary to realize the value thereof.

None of the Receiver, the Agents or the Lenders shall be liable for any expenses incurred with

regard to the Receivership Assets prior to the Receiver taking possession of the Receivership

Assets, nor shall the Receiver, the Agents or the Lenders be required to use the Receivership

Assets for payment of any expenses incurred with regard to the Receivership Assets prior to the

date of this Order. Notwithstanding the foregoing, the Receiver may, in the Receiver’s sole

discretion, pay those expenses which were incurred in the normal and ordinary course of business

of the Receivership Assets prior to the Receiver taking possession of the Receivership Assets if,

and only if, (a) the Receiver determines that payment of any such pre-existing expense is necessary

and critical to the ongoing operation, maintenance, management, protection, and preservation of

the Receivership Assets; and (b) the Receiver has received the Agents’ prior written consent.

Except as provided in, and in all events in accordance with the immediately preceding sentence,

no pre-existing expenses shall be paid by the Receiver. The Receiver shall not be required to

perform under any contract or lease entered into prior to the date on which he assumes possession

of the Receivership Assets. Notwithstanding the foregoing, the Receiver may, in the Receiver’s

sole discretion, perform under such contracts or leases.



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       15.     The Receiver shall perform its obligations hereunder and make disbursements in

accordance with, and subject to, the terms of this Order and the Budgets (as defined in this

paragraph 15). Prior to the Receiver and the Agents’ agreement on the Initial Budget, the Receiver

shall submit disbursement requests to the Agents and disbursements may be made in the Agents’

sole and absolute discretion. Within fourteen (14) calendar days of the entry of this Order, unless

the Receiver and the Agents agree to another period of time, the Receiver shall deliver to the

Agents a cash flow forecast for the Operator Defendants for the upcoming 13-week period

(commencing with the calendar week in which the cash flow forecast is delivered to the Agents),

in form and detail acceptable to the Agents (the “Initial Budget”). On Thursday of each calendar

week after delivery of the Initial Budget (or the next succeeding business day if Thursday is not a

business day), the Receiver shall regularly deliver a 13-week cash flow forecast (together with the

Initial Budget, the “Budgets” and, individually, a “Budget”) to the Agents. Each Budget shall

(a) be prepared on a reasonable basis and in good faith, and based upon assumptions believed by

the Receiver to be reasonable at the time made and upon the best information then reasonably

available to the Receiver, and (b) be subject to review and written approval by the Agents. To the

extent a proposed Budget is not approved, the Receiver may submit a revised Budget for the

Agents’ review and written approval, it being understood and agreed that the Receiver may not

make any disbursements and the Agents shall have no obligation to fund any disbursements

pursuant to this Order, the Loan Agreements or otherwise, if a Budget has not been approved for

the week in which such expenses are to be disbursed. The Receiver shall not make disbursements

in excess of those Budgeted Items (as defined in paragraph 17 below) listed in the Budget; provided

that there shall be an allowed 10% variance to the cumulative aggregate amount of disbursements

scheduled to be made during the period from the Initial Budget through and including the then-



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current calendar week (e.g., on a cumulative aggregate weekly Budgeted Item basis). Without

limiting the foregoing, notwithstanding any relief granted in any other order entered by the court,

the Receiver shall not make any expenditures authorized by such orders unless, and to the extent

that, such expenditures are encompassed and expressly included in this Order and the Budget. The

Receiver may submit disbursement requests to the Agents for items not covered by an Approved

Budget, and such disbursements may be made in the Agents’ sole and absolute discretion. Copies

of approved Budgets shall be emailed to counsel for the Operator Defendants.

       16.     The Operator Defendants shall continue to comply with their reporting

requirements under the Loan Agreements following entry of this Order. To the extent the Operator

Defendants fail to provide the reporting, the Receiver, in consultation with the Agents, shall use

his best efforts to timely provide the reporting required under the Loan Agreements. The Operator

Defendants are authorized and directed to provide all information as and when required by the

Receiver to fulfill reporting obligations.

       17.     The Receiver shall deliver to the Agents and their counsel by 5:00 p.m. (Eastern

time) on the first Wednesday of the calendar week after seven (7) days have passed after the

approval of the first Budget, and on each Wednesday of each calendar week thereafter (in each

case, for the immediately preceding calendar week) or at such time as otherwise agreed in writing

by the Agents, in form and substance satisfactory to the Agents, a compliance report (the

“Compliance Reports”) documenting and detailing:          (a) all cash receipts of the Operator

Defendants and their operations; (b) all payments and disbursements made by the Receiver; (c) the

updated weekly actual performance compared to the Budget on both an aggregate basis and a line-

item by line-item basis (each particular line-item set forth on the Budget being referred to herein

as a “Budgeted Item”), stating all variances and providing a narrative discussion and analysis by



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the Receiver with respect to any and all negative variances; and (d) such other reports as the Agents

may reasonably request from time to time. Compliance Reports shall be emailed to counsel for

the Operator Defendants.

        18.     The Receiver shall have no obligation to expend funds in excess of the receipts

actually collected or received by the Receiver. The Lenders shall have no obligation to provide

funds to the Receiver. The Receiver is authorized to borrow funds from the Lenders at the Lenders’

sole discretion and subject to the terms and conditions of the Loan Agreements. Any funds

borrowed from the Lenders by the Receiver shall be secured by a first, valid and perfected lien and

security interest in the Receivership Assets senior to all other liens and security interests in the

Receivership Assets, which lien shall be valid and perfected without the necessity of recordation,

filing, or any other act of the Agents or the Lenders, and the Receiver is authorized, but not

required, to issue receivership certificate(s) to evidence and secure any such protective advances

by the Lenders.

        19.     The liability of the Receiver and any person engaged by the Receiver hereunder is

and shall be limited to the Receivership Assets, and neither the Receiver nor any person or entity

engaged by the Receiver hereunder shall be personally liable for any actions taken pursuant to this

Order or carrying out the Receiver’s duties, excepting only claims which arise from the willful

misconduct of such person as determined by a final order of this or another court of competent

jurisdiction.

        20.     The Receiver’s compensation shall be on an hourly basis, plus expenses incurred,

as agreed to by the Agents and provided for in the Budget. The Receiver’s compensation shall be

paid (a) in accordance with the Budget or as otherwise agreed upon in writing by the Receiver and

the Agents; (b) first from the Receivership Assets including all monies or other proceeds derived



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therefrom, and, next; (c) from secured advances, if any, that the Lenders, in their sole discretion in

accordance with this Order, make to the Receiver to pay such fees and expenses, but only to the

extent that the Receivership Assets are insufficient to pay the Receiver’s compensation. The

Receiver shall maintain records of its professionals’ time. The Receiver shall include a report of

its compensation in its filings with the court set forth in Paragraph 21 below.

       21.     The Receiver shall make an initial report to this court and to the Agents on or before

thirty days from the entry of this Order regarding its initial findings and a second report to the

court within sixty days thereafter. The Receiver shall thereafter submit an updated status report

on a quarterly basis or as otherwise ordered by the court. Copies of all such reports shall be served

upon all parties appearing in this case by the court’s electronic filing system.

       22.         The Receiver may at any time request from the court that it be exonerated,

discharged and released from its appointment as Receiver. The Receiver shall, during the

pendency of this action, have the right to apply to this court for further instructions or directions.

       23.         As of the date of this Order, all persons and entities, including but not limited

to the Operator Defendants’ creditors and their respective officers, agents, representative and all

other persons or entities acting under or in concert with such creditors are hereby placed on notice

that all Receivership Assets are in custodia legis, and, as such, under the protection of this court,

immune from attachment or other legal process, and subject entirely to control by the Receiver as

this court’s appointee.

       24.         The authority granted to the Receiver herein is self-executing. The Receiver is

authorized to act in accordance with this Order on behalf of, and in the Operator Defendants’ (or

the Receiver’s) name, as the Receiver deems appropriate without further order of this court and

without personal recourse against the Receiver (subject to any recourse described herein).



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       25.         This Order may be modified by order of the court after notice to the Receiver,

the Operator Defendants and the Agents.

       26.         Nothing in this Order shall impair the Agents of their rights and remedies

against the Guarantors of the loans at issue in this matter.

       27.         The court shall retain jurisdiction and supervision of all matters concerning the

Receiver, the receivership created hereby and the Receivership Assets. Any and all actions which

affect the Receiver or the Receivership Assets shall be brought in this court. The Receiver may

seek instructions and additional authority from this court upon written notice to the Agents and

the Operator Defendants.




_____March 21, 2018        __                                  /s/Rya W. Zobel

           Date                                                  Rya W. Zobel
                                                      Senior United States District Judge




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